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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,

                                 Plaintiff,                 No. ____________
                      v.

 DONALD J. TRUMP,                                           COMPLAINT AND DEMAND
                                                            FOR A JURY TRIAL
                                 Defendant.


        Plaintiff E. Jean Carroll, by and through her attorneys at Kaplan Hecker & Fink LLP,

alleges as follows:

                                         INTRODUCTION

        1.       Roughly 27 years ago, playful banter at the luxury department store Bergdorf

Goodman on Fifth Avenue in New York City took a dark turn when Defendant Donald J. Trump

seized Plaintiff E. Jean Carroll, forced her up against a dressing room wall, pinned her in place

with his shoulder, and raped her.

        2.       In the aftermath, Carroll confided in two close friends. One urged her to report the

crime to the police, but the other warned that Trump would ruin her life and livelihood if she

reported it.

        3.       Carroll chose silence—and remained silent for over two decades.

        4.       Carroll knew then that sexual assault was pervasive. She also knew that men have

been assaulting women and getting away with it since before she was born. And she knew that

while a woman who accused any man of rape was rarely believed, a woman who accused a rich,

famous, violent man of rape would probably lose everything. She therefore reasonably concluded

that if she accused Donald Trump of rape he would bury her in threats and lawsuits, and she would

probably lose her reputation, not to mention everything she had worked for and achieved.



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       5.       Near the end of the 2016 presidential election, Carroll watched in horror as

numerous women offered highly credible (and painfully familiar) accounts of Trump assaulting

them; Trump responded with insults and denials; the public fractured; and Trump not only won

the election, but grew more popular with some supporters as a result of the controversy.

       6.       Carroll’s mother, a respected Republican official in Indiana, was dying during the

last six weeks of the presidential election. Carroll, wanting to make her mother’s last days as

pleasant as possible and avoid causing her any pain, decided to remain silent about what Trump

had done to her.

       7.       But that all changed in late 2017, when the Harvey Weinstein scandal and its

aftermath signaled a profound shift in how American society responds to accusations of sexual

misconduct by powerful men. It suddenly seemed possible that even Trump could be held to

account.

       8.       For Carroll, that project grew more urgent—and more personal—as the #MeToo

era prompted a flood of new letters to her advice column seeking her counsel about how to respond

to sexual assault and abuse. In her column, Carroll encourages her readers to be brave, to think

clearly, and to seek justice. When readers overcome with doubt and anxiety have turned to her

seeking advice, Carroll has always advised taking action. But she never confessed her own

experiences. She never revealed that she, too, had been a victim of sexual assault. Over time, as

described below, the contradiction between Carroll’s words and her actions became increasingly

untenable.

       9.       Carroll is a journalist. She watched as a throng of women came forward and accused

Trump of sexual assault, only to be denigrated and then brushed aside. When she felt she should

finally come forward herself, Carroll wanted to do it differently. She decided to describe Trump’s



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rape in a book she had already begun to write about her experiences with various men. She did not

want to tell her story to the police, a newspaper, an elected official, or a fellow journalist, and be

treated as a “victim.” In other words, she wanted to tell her own story on her own terms.

        10.     When Carroll’s account was published, Trump lashed out with a series of false

statements. He denied the rape. Trump made additional false claims about Carroll in 2022, more

than three years after she first went public, damaging her reputation even further.

        11.     Trump’s underlying sexual assault severely injured Carroll, causing significant pain

and suffering, lasting psychological harms, loss of dignity, and invasion of her privacy. His recent

defamatory statement has only added to the harm that Carroll had already suffered.

        12.     Carroll filed this lawsuit to obtain redress for her injuries and to demonstrate that

even a man as powerful as Trump can be held accountable under the law.

                                           THE PARTIES

        13.     Plaintiff E. Jean Carroll is a journalist, author, former writer for Saturday Night

Live, and former advice columnist for Elle magazine. She is a resident and domiciliary of the State

of New York.

        14.     Defendant Donald J. Trump is the former President of the United States. Trump is

currently a resident and domiciliary of the State of Florida.

                                  JURISDICTION AND VENUE

        15.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(a)(1) because the parties are citizens of different states and the amount in controversy

exceeds $75,000.

        16.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

the events giving rise to this action occurred in this judicial district.




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       17.     This Court has personal jurisdiction over Trump pursuant to New York’s long-arm

statute, N.Y. C.P.L.R. § 302(a)(1) and (2). The Court may also exercise pendent personal

jurisdiction over Trump for claims that share a common nucleus of operative facts. Jurisdiction

over Trump is all the more appropriate because, in September 2020, Trump voluntarily removed

a related action against him, captioned Carroll v. Trump, 20 Civ. 07311, to this Court pursuant to

the Westfall Act, 28 U.S.C. § 2679(d)(2).

                                 FACTUAL ALLEGATIONS

 I.    TRUMP RAPES CARROLL AT BERGDORF GOODMAN

       18.     One evening between the fall of 1995 and the spring of 1996, Carroll left work and

went to Bergdorf Goodman, the luxury department store on Fifth Avenue in New York City. She

was and remains a regular shopper at Bergdorf’s.

       19.     That evening, Carroll did not find whatever she was looking for and prepared to

leave Bergdorf’s empty-handed. As she exited through Bergdorf’s revolving side door on 58th

Street, Trump arrived and entered through that very same door, which was cater-cornered across

from the Plaza Hotel.

       20.     Trump instantly recognized Carroll on sight. They had met at least once before and

had long traveled in the same New York City media circles. In this period, Carroll was doing the

daily Ask E. Jean TV show, a small hit on the “America’s Talking” network started by Roger

Ailes. She was also on a frequent guest and commentator on the widely watched Today show and

Good Morning America.




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       21.     Trump and Carroll had previously been photographed at a party together:




       22.     At the 58th Street revolving glass doorway of Bergdorf’s, Trump put up his hand

to stop her from exiting and said, “Hey, you’re that advice lady!” Carroll, struck by his boyish

good looks, responded by saying, “Hey, you’re that real estate tycoon!”

       23.     Trump said that he was at Bergdorf’s to buy a present for “a girl” and asked Carroll

to come advise him. Carroll was surprised but thrilled that Trump would want her advice. She

stuck around, imagining the funny stories that she might later recount.

       24.     Trump and Carroll began searching for a gift that Trump could give to the unnamed

girl. As they stood just inside the door, Carroll pointed to the handbags. Trump made a face; he

did not like that idea. Carroll instead suggested a hat. Trump walked over, going straight for a fur

hat, prompting Carroll to object that no woman would wear a dead animal on her head.

       25.     As Trump cuddled the fur hat, Carroll asked how old “the girl” was. Trump did not

answer, instead asking Carroll how old she was. When Carroll replied that she was fifty-two years

old, he taunted her, “You’re so old!”

       26.     Trump then had an idea: He would buy lingerie instead.

       27.     Trump and Carroll rode up the escalator to the lingerie department. When they

arrived, it was uncharacteristically empty, with no sales attendant in sight. Sitting on the counter

near them were two or three boxes and a see-through bodysuit in lilac gray.


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       28.     Snatching the bodysuit, Trump insisted that Carroll try it on. Bemused, Carroll

responded that he should try it on himself, adding that it was his color. Trump and Carroll went

back and forth, teasing each other about who should try on the bodysuit.

       29.     Suddenly, Trump grabbed Carroll’s arm and said, “Let’s put this on.”

       30.     Trump maneuvered Carroll to the dressing room. As they moved, Carroll laughed,

thinking to herself that she would make him put the bodysuit on over his pants.

       31.     Strangely for Bergdorf’s, the dressing room door was open and unlocked.

       32.     Trump closed the door of the dressing room.

       33.     Immediately, Trump lunged at Carroll, pushing her against the wall, bumping her

head quite badly, and putting his mouth on her lips.

       34.     Carroll shoved him back. Utterly shocked by Trump’s unexpected attack, Carroll

burst out in awkward laughter. She could hardly process the insanity of the situation. She also

hoped, at least at first, that laughter would bruise his ego and cause him to retreat.

       35.     But Trump did not stop. He seized both of her arms and pushed her up against the

wall again, bumping her head a second time. While pinning Carroll against the wall with his

shoulder, Trump jammed his hand under her coatdress and pulled down her tights.

       36.     Trump opened his overcoat and unzipped his pants. Trump then pushed his fingers

around Carroll’s genitals and forced his penis inside of her.

       37.     Carroll resisted, struggling to break free. She tried to stomp his foot with her high

heels. She tried to push him away with her one free hand (as she kept holding her purse with the

other). Finally, she raised a knee up high enough to push him out and off her.

       38.     Carroll ran out of the dressing room, out of Bergdorf’s, and onto Fifth Avenue.

       39.     The whole attack lasted two to three minutes.



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        40.     Trump attacked Carroll without her consent in order to satisfy his own sexual

desires.

        41.     Trump’s physical contact with Carroll was offensive and wrongful.

II.     CARROLL CONFIDES IN TWO FRIENDS ABOUT THE RAPE

        42.     As soon as she was outside Bergdorf’s, Carroll pulled her phone out of her purse

and called her friend Lisa Birnbach, the author, journalist, and correspondent on TV morning

shows. 1 Carroll was breathless and still reeling from the assault. She kept laughing, manically—

her way of coping with the stress and trauma that she had just experienced.

        43.     Carroll recounted to Birnbach how Trump had attacked her in Bergdorf’s dressing

room. She told Birnbach how Trump had pulled down her tights and put his penis inside of her.

        44.     “He raped you,” Birnbach kept repeating. She begged Carroll to go to the police

and offered to accompany her. Still in shock and reluctant to think of herself as a rape victim,

Carroll did not want to speak to the police. She told Birnbach that it was just a few minutes of her

life and that it was over. She implored Birnbach never to tell anyone what had happened.

        45.     Carroll drove home and crawled straight into bed.

        46.     Over the next few days, Carroll confided in a second friend, the New York City

journalist and news anchor Carol Martin. They sat together in the kitchen as Carroll described the

rape. This time, Carroll did not laugh. Nobody laughed. The gravity of the assault had finally

started to sink in.

        47.     Martin solemnly advised Carroll to tell no one. Recognizing that Trump was a

powerful man, Martin feared that if her friend came forward, disaster would ensue. Martin warned


        1
         Birnbach wrote a story about Trump’s Mar-a-Lago that was published in February 1996.
See Lisa Birnbach, Mi Casa Es Su Casa, NEW YORK (Feb. 12, 1996). Birnbach has suggested that
it was because of her work on that article that Carroll called her immediately after the assault.


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Carroll, in sum and substance: “Tell no one. Forget it! He has two hundred lawyers. He’ll bury

you.”

        48.    Carroll took Martin’s advice. She knew how brutal and dangerous Trump could be.

        49.    Carroll was also afraid of being dragged through the mud if she reported the rape.

She was convinced that nobody would believe her if she came forward. And like so many other

survivors of sexual assault, Carroll also blamed herself. She called herself “stupid.” She told

herself that she “deserved it” for agreeing to go lingerie shopping with Trump. She struggled with

the guilt that, somehow, though she had fought to protect herself from his attack, it was her fault

that Trump had raped her because she had entered that Bergdorf dressing room.

        50.    Fundamentally, Carroll was raised to believe that strong women get by in the world

with a stiff upper lip—i.e., by putting hardship and suffering behind them. She believed that strong

women laugh at disasters because feeling sad only doubles the burden. To Carroll, laughter is how

women have dealt with calamity for thousands of years. So Carroll put her chin up and tried to

move on.

        51.    Carroll also considered that, in our society, women who have been raped are looked

at as “spoiled goods,” and she resented the fact that practically every woman who courageously

came forward with their stories of abuse was subjected to questions like “why didn’t you scream”

and “why didn’t you come forward immediately.”

        52.    Carroll thus chose silence.

        53.    Carroll did not mention the rape again for over twenty years. She did not want to

be seen—or to see herself—as a victim of sexual assault. And although Carroll was reluctant to

use the word “rape” because she did not want to be perceived by others as a rape victim for the

reasons discussed above, she never had any doubt that Trump had sexually assaulted her.



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       54.     Trump’s sexual assault of Carroll has caused her, and continues to cause her,

significant pain and suffering, lasting psychological and pecuniary harms, loss of dignity and self-

esteem, and invasion of her privacy.

       55.     As a result of the pain and suffering caused by Trump’s sexual assault, Carroll has

not been able to sustain a romantic relationship since the day Trump raped her. Nor has she

engaged in sex with anyone since that time. Carroll has had difficulty trusting men and cannot

maintain an intimate relationship. In Carroll’s own words the “music had stopped” and the “light

had gone out” after Trump attacked her at Bergdorf’s.

III.   CARROLL REMAINS SILENT FOR TWENTY YEARS

       56.     For the next twenty years, Carroll pursued her career as a writer and advice

columnist. Over time, she built a loyal audience and enjoyed the support of her publisher. Her Ask

E. Jean advice column in Elle magazine became the longest, still-active advice column in

American publishing. Its success resulted in large part from the many letters sent to her by readers.

       57.     Carroll’s column in Elle was about life and love. Readers’ questions ranged from

the lighthearted to the deeply personal. From time to time, readers would ask questions about

whether behavior that they experienced at work, at church, and in their relationships was

appropriate. When Carroll detected sexism or abuse, she did her level best to call it out and to help

women protect themselves.

       58.     One reader, for example, despaired in 1994, “my boss is always rubbing up against

me . . . . He scares me because he’s very powerful and could ruin me.” Carroll responded: “Darling,

if the old snake has done so much to help your career, why are you still an assistant? Sex harassers

are filthy yellow sneaking cowards and must be won over, or crushed . . . . If all else fails, next




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time the old waterhead touches you, give him a knee in the groin. You’ve got nowhere to go but

up.” 2

         59.       Another reader had been raped when thirteen years old and sought advice from

Carroll because her rapist had just become her co-worker. Carroll responded: “[T]he gentleness of

your [letter] speaks strongly for your forgiving nature; however, it makes my duty very difficult.

Because now I must harden your soul. I must twist a little bit of steel—I’d try a big block of metal

if I could—around your backbone, and persuade you to report your rapist to the police.” 3 Carroll

added:

         “First, call your rape crisis center and speak with a counselor. Second, join a group
         of rape survivors—with their hardy support, you’ll start constructing a world for
         yourself and leave the world the rapist built for you. And, third, find another job at
         once. (Do not tell your employer about the rape. Do not inform the rapist of these
         steps. Stay cool. He’s dangerous.)” 4

         60.       In her advice columns, Carroll sought to offer witty, wise, and worldly guidance,

and to address her readers in a clear, straightforward manner. She often urged readers to speak the

truth and to recognize patterns of rationalization and abuse. Readers’ perception of Carroll as

honest, thoughtful, frank, and well-meaning were essential to Carroll’s professional success.

         61.       But in responding to her readers, Carroll did not confess her own life experiences,

including the sexual assault by Trump described above.

         62.       During the last month of the election of 2016, Carroll watched a multitude of

women reveal that Trump had engaged in sexual misconduct. She saw Trump brutally attacking




         2
       Reprinted in E. JEAN CARROLL, A DOG IN HEAT IS A HOT DOG AND OTHER RULES TO LIVE
BY 28-29 (1996).
         3
             Id. at 141-42.
         4
             Id. at 142.


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his accusers on a national stage—denying their accusations, while also savaging their reputations

and insulting their appearance.

        63.     And as Carroll sat at the bedside of her dying mother in a Bloomington, Indiana

hospital, watching numerous, credible women stun the nation with their stories of Trump’s sexual

brutality, Carroll briefly considered whether she, too, should reveal that Trump had raped her. But

she feared—just as she had for decades—that Trump would lie his way out of it, while destroying

her life and reputation. He had done it before to plenty of women and, it seemed to Carroll, he

would readily do it again. And, worst of all, coming forward with her story would also cause a

media storm in Indiana and destroy her mother’s last happy days on the planet. Carroll feared that

it would cost her and her family dearly without actually changing anything, especially since any

accusation made during the presidential campaign would be characterized by Trump and his allies

as a stunt to thwart his election.

        64.     Indeed, Carroll worried that she might make Trump more popular in states like

Indiana by revealing the rape, since his electoral fortunes had steadily improved despite credible

allegations of sexual abuse. To Carroll, it appeared that some of Trump’s political supporters

actually admired the fact that Trump was rich enough, macho enough, and powerful enough to be

sued by—and to pay off—all these women he had groped and penetrated (especially porn stars

and Playboy models).

        65.     Carroll, in honor of her mother’s remarkable life, many years of which were spent

as a local and loyal Republican elected official, and because she thought the publicity would help

Trump win the election, warily persisted in her decades-old silence.

        66.     Carroll’s mother died on October 11, 2016. In 2017, Carroll decided to write a book

drawing on her observations as an advice columnist, but focusing specifically on her own life and



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trying to understand why so many Ask E. Jean letter-writers complained about men. On the

morning of October 5, 2017, Carroll set out on a road trip, traveling to towns named after women.

When she arrived in each town named after a woman (Angelica, New York, Tallulah, Louisiana,

Marianna, Arkansas, and so forth), she spoke to women from all walks of life about their

relationships with men. She asked many of her subjects about the roles that men play in their lives.

IV.    CARROLL DECIDES TO SPEAK OUT

       67.     On the very day Carroll began her road trip for her book, October 5, 2017, the New

York Times revealed that Harvey Weinstein had sexually assaulted and harassed dozens of women

in the film industry. 5 The news went off in Carroll’s mind like a bomb. She could not stop reading.

Painful memories of abuse at the hands of men, including Trump, swept over her.

       68.     Days later, several women accused Weinstein of rape. 6 It soon became clear to

Carroll, and to the American people, that Weinstein’s abuses had been enabled for decades by a

loose network of loyalists and lawyers, who had ensured that Weinstein evaded accountability for

his exploitation of women—even though it was an open secret in Hollywood.

       69.     As the Weinstein scandal persisted, Carroll saw society respond to the accusations

with a seriousness and depth of self-reflection that she had never seen before; all too often, and as

recently as the 2016 election, many Americans had brushed aside or marginalized accusations of

sexual misconduct by powerful men. Carroll also saw other women suddenly feel emboldened to

come forward with their own reports of harassment, exploitation, abuse, violence, and rape.




       5
        Jodi Kantor & Megan Twohey, Harvey Weinstein Paid Off Sexual Harassment Accusers
for Decades, N.Y. TIMES (Oct. 5, 2017).
       6
         Ronan Farrow, From Aggressive Overtures to Sexual Assault: Harvey Weinstein’s
Accusers Tell Their Stories, NEW YORKER (Oct. 10, 2017).


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       70.     Carroll was moved by this experience. The walls that she had erected in her mind—

the fear that Trump would emerge unscathed, the wariness of allowing him and his allies to come

after her, the doubt that speaking up would actually matter, and the nagging anxiety that she was

somehow to blame for being raped—began to crumble. Decades of deflection, diversion, and

denial dissolved, resurfacing memories and feelings that she had hidden away.

       71.     Carroll was struck by the fact that Weinstein, for all his wealth and power, could

still be held accountable for his sexual misconduct. She saw how women had at last changed the

public conversation by saying “Me Too” and by demanding accountability.

       72.     These observations lead Carroll to reflect again on her column in Elle magazine,

and to ask whether she was a hypocrite. For decades, she had paired her trademarked wit with

steely resolve in confronting the everyday unfairness—and, all too often, the abuse—that her

(largely female) readers confessed. Carroll’s written persona was brave. But she still had not

confessed her own experiences of abuse, her fear of coming forward, or her creeping self-doubt.

       73.     These internal reflections loomed larger in her mind—and became inescapable—

as more readers of Carroll’s advice column began asking, “Should I come forward with my account

of surviving sexual abuse or harassment?”

       74.     Carroll finally decided that she owed her readers the truth. She also owed them (and

many other women) solidarity in their efforts to bring justice and accountability to powerful men

who had engaged in sexual assault and gotten away with it. She knew that it would be painful to

speak up. But she also knew that it was the right thing to do so.

       75.     While Carroll was on the road trip across the country talking to women as research

for her book, she started a list of the 21 most hideous men she had ever encountered—men who

had, each in his own way, left indelible and ugly marks on her story. This list grew into a book,



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What Do We Need Men For?: A Modest Proposal. In that book, Carroll interspersed the stories of

women she had met while traveling the country with the men on her “Most Hideous List.”

       76.       Two men on the Most Hideous List haunted Carroll the most. The first was Cam

Parks, the Waterfront Director at her Girl Scout camp, a man who sexually abused her every day

during a two-week period when she was twelve. The second was Donald Trump, the man who

raped her when she was 52. Carroll described that attack in detail.

       77.       Carroll knew a book was the right place for her to come forward about Trump’s

assault. Writing is Carroll’s lifeblood; she writes to process the world around her and to reveal her

inner self. It’s her normal way of living: she writes about what happens to her, often in a

confessional, idiosyncratic manner. She also believed that a book would allow her to control her

narrative and speak directly to her readers. This was important. Carroll did not want to be, or to

act like, a victim. She wanted to tell her story on her terms, rather than as filtered through

journalists or social media. Her language was specific.

       78.       In her book, Carroll truthfully described, in meticulous detail, the rape in Bergdorf

Goodman:

       “The next moment, still wearing correct business attire, shirt, tie, suit jacket,
       overcoat, he opens the overcoat, unzips his pants, and, forcing his fingers around
       my private area, then thrusts his penis halfway—or completely, I’m not certain—
       inside me.” 7

       79.       She also explained why she had not come forward earlier:

       “Receiving death threats, being driven from my home, being dismissed, being
       dragged through the mud, and joining the sixteen women who’ve come forward
       with credible stories about how the man grabbed, badgered, belittled, mauled,
       molested, and assaulted them only to see the man turn it around, deny, threaten, and
       attack them doesn’t sound like much fun. Also, I’m a coward.” 8


       7
           E. JEAN CARROLL, WHAT DO WE NEED MEN FOR?: A MODEST PROPOSAL 248 (2019).
       8
           Id. at 244.


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       80.     At noon on June 21, 2019, New York magazine published Carroll’s account of the

rape on NYMag.com as an excerpt of her forthcoming book. The excerpt first appeared on The

Cut, a vertical on NYMag.com. The excerpt appeared on newsstands three days later in the June

24-July 7 print edition.

       81.     Carroll’s book was released by St. Martin’s Press on July 2, 2019.

       82.     After Carroll came forward, Trump publicly denied the attack in three separate

statements, published on June 21, 22, and 24, respectively.

       83.     On June 21, 2019, Trump issued the following public statement:

       “Regarding the ‘story’ by E. Jean Carroll, claiming she once encountered me at
       Bergdorf Goodman 23 years ago. I’ve never met this person in my life. She is trying
       to sell a new book—that should indicate her motivation. It should be sold in the
       fiction section.

       Shame on those who make up false stories of assault to try to get publicity for
       themselves, or sell a book, or carry out a political agenda—like Julie Swetnick who
       falsely accused Justice Brett Kavanaugh. It’s just as bad for people to believe it,
       particularly when there is zero evidence. Worse still for a dying publication to try
       to prop itself up by peddling fake news—it’s an epidemic.

       Ms. Carroll & New York Magazine: No pictures? No surveillance? No video? No
       reports? No sales attendants around?? I would like to thank Bergdorf Goodman for
       confirming they have no video footage of any such incident, because it never
       happened.

       False accusations diminish the severity of real assault. All should condemn false
       accusations and any actual assault in the strongest possible terms.

       If anyone has information that the Democratic Party is working with Ms. Carroll or
       New York Magazine, please notify us as soon as possible. The world should know
       what’s really going on. It is a disgrace and people should pay dearly for such false
       accusations.” 9

       84.     On June 22, 2019, Trump made the following statement to reporters:



       9
            See Laura Litvan (@LauraLitvan), Twitter (June              21,   2019,   2:17    PM),
https://twitter.com/LauraLitvan/status/1142179819075121154.


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      “[Reporter]: [Y]ou had said earlier that you never met E. Jean Carroll. There was a
      photograph of you and her in the late 1980’s—

      [Trump]: I have no idea who this woman is. This is a woman who has also accused
      other men of things, as you know. It is a totally false accusation. I think she was
      married—as I read; I have no idea who she is—but she was married to a, actually,
      nice guy, Johnson—a newscaster.

      [Reporter]: You were in a photograph with her.

      [Trump]: Standing with coat on in a line—give me a break—with my back to the
      camera. I have no idea who she is. What she did is—it’s terrible, what’s going on.
      So it’s a total false accusation and I don’t know anything about her. And she’s made
      this charge against others.

      And, you know, people have to be careful because they’re playing with very
      dangerous territory. And when they do that—and it’s happening more and more.
      When you look at what happened to Justice Kavanaugh and you look at what’s
      happening to others, you can’t do that for the sake of publicity.

      New York Magazine is a failing magazine. It’s ready to go out of business, from
      what I hear. They’ll do anything they can. But this was about many men, and I was
      one of the many men that she wrote about. It’s a totally false accusation. I have
      absolutely no idea who she is. There’s some picture where we’re shaking hands. It
      looks like at some kind of event. I have my coat on. I have my wife standing next
      to me. And I didn’t know her husband, but he was a newscaster. But I have no idea
      who she is—none whatsoever.

      It’s a false accusation and it’s a disgrace that a magazine like New York—which is
      one of the reasons it’s failing. People don’t read it anymore, so they’re trying to get
      readership by using me. It’s not good.

      You know, there were cases that the mainstream media didn’t pick up. And I don’t
      know if you’ve seen them. And they were put on Fox. But there were numerous
      cases where women were paid money to say bad things about me. You can’t do
      that. You can’t do that. And those women did wrong things—that women were
      actually paid money to say bad things about me.

      But here’s a case, it’s an absolute disgrace that she’s allowed to do that.” 10




      10
          Remarks by President Donald Trump Before Marine One Departure, WHITE HOUSE
(June 22, 2019).


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       85.        Two days later, on June 24, 2019, The Hill released an interview in which Trump

made the following statement in response to Carroll: “I’ll say it with great respect: Number one,

she’s not my type. Number two, it never happened. It never happened, OK?” 11

       86.        On June 27, Birnbach and Martin went on the record to corroborate Carroll. 12

       87.        Speaking to Carroll, Martin, and a reporter, Birnbach said:

       “I remember [Carroll] saying repeatedly, he pulled down my tights . . . . [Carroll]
       did say, he put his penis in me. And I said—my face just did it. What? He raped
       you? And [Carroll] said, eh. He kept pulling down—he pulled down my tights. He
       pulled down my tights . . . . It just—it was horrible. We fought. And I [Birnbach]
       said, let’s go to the police. [Carroll said,] No. [Birnbach said,] Come to my house.
       [Carroll said,] No. I want to go home. [Birnbach said,] I’ll take you to the police.
       [Carroll said,] No. It was 15 minutes of my life, it’s over. Don’t ever tell anybody.
       I just had to tell you.” 13

       88.        Responding to Carroll, Birnbach, and a reporter, Martin said:

       “From what I could sense of you [Carroll], you were, A, you were handling it, as
       you handle things. She doesn’t break down easily on anything. And there was none
       of that, as you told me. It wasn’t like she started crying, or nothing that was a frantic
       kind of response to it. It was like, I can’t believe this happened.” 14

       89.        Martin added: “I said, don’t tell anybody. I wouldn’t tell anybody this.” 15

       90.        Separately, Birnbach observed, “I believe E. Jean in this episode that she recounted

to me in 1996. Yes. Without hesitation. She’s not a fabulist. She doesn’t make things up.” 16




       11
         Jordan Fabian & Saagar Enjeti, EXCLUSIVE: Trump Vehemently Denies E. Jean Carroll
Allegation, Says “She’s Not My Type”, HILL (June 24, 2019).
       12
            Michael Barbaro et al., Corroborating E. Jean Carroll, N.Y. TIMES (June 27, 2019).
       13
            Id.
       14
            Id.
       15
            Id.
       16
        Jessica Bennett et al., Why E. Jean Carroll, “the Anti-Victim,” Spoke Up About Trump,
N.Y. TIMES (June 27, 2019).


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V.     TRUMP AGAIN DENIES RAPING CARROLL AND MAKES A SLEW OF FALSE,
       INSULTING CLAIMS ABOUT HER

       91.    Three years after the June 2019 defamatory statements, Trump—at this point, no

longer President—once again made false and insulting claims about Carroll.

       92.    More specifically, on October 12, 2022, Trump posted the following:

       “This ‘Ms. Bergdorf Goodman case’ is a complete con job, and our legal system in
       this Country, but especially in New York State (just look at Peekaboo James), is a
       broken disgrace. You have to fight for years, and spend a fortune, in order to get
       your reputation back from liars, cheaters, and hacks. This decision is from the Judge
       who was just overturned on my same case. I don’t know this woman, have no idea
       who she is, other than it seems she got a picture of me many years ago, with her
       husband, shaking my hand on a reception line at a celebrity charity event. She
       completely made up a story that I met her at the doors of this crowded New York
       City Department Store and, within minutes, ‘swooned’ her. It is a Hoax and a lie,
       just like all the other Hoaxes that have been played on me for the past seven years.
       And, while I am not supposed to say it, I will. This woman is not my type! She has
       no idea what day, what week, what month, what year, or what decade this so-called
       ‘event’ supposedly took place. The reason she doesn’t know is because it never
       happened, and she doesn’t want to get caught up with details or facts that can be
       proven wrong. If you watch Anderson Cooper’s interview with her, where she was
       promoting a really crummy book, you will see that it is a complete Scam. She
       changed her story from beginning to end, after the commercial break, to suit the
       purposes of CNN and Andy Cooper. Our Justice System is broken along with
       almost everything else in our Country.”

He then continued:

       “In the meantime, and for the record, E. Jean Carroll is not telling the truth, is a
       woman who I had nothing to do with, didn’t know, and would have no interest in
       knowing her if I ever had the chance. Now all I have to do is go through years more
       of legal nonsense in order to clear my name of her and her lawyer’s phony attacks
       on me. This can only happen to ‘Trump’!” 17

       93.    This statement appeared on Trump’s personal account on Truth Social, a social

media platform created by Trump and operated by Trump Media & Technology Group, one of

Trump’s many businesses. As Trump has explained, he created Truth Social after he was banned


       17
            Donald J. Trump (@realDonaldTrump), Truth Social (Oct. 12, 2022, 10:38 PM),
https://truthsocial.com/@realDonaldTrump/posts/109158644496040450.


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from Twitter to build a platform through which he could disseminate his message broadly,

including into New York, and to profit from such dissemination: “[Y]our favorite American

President has been silenced. This is unacceptable.” 18

       94.       Trump published the October 12 statement to his more than four million followers

on Truth Social. Around the same time, Trump had his statement distributed to reporters, including

reporters at publications headquartered in New York such as Fox News and the New York Times,

and emailed to a listserv of supporters. 19

       95.       Not surprisingly, Trump’s October 12 statement was widely reported in the press,20


       18
            SEC Form 8-K, filed by Digital World Acquisition Corp. (Oct. 20, 2021), at Ex. 99.1.
       19
        Lawrence Richard, Trump Responds to E. Jean Carroll Defamation Lawsuit After Judge
Denies Delay: “A Hoax and a Lie”, FOX NEWS (Oct. 12, 2022).
       20
          See, e.g., Kaitlin Lewis, Trump Blasts E. Jean Carroll’s ‘Complete Con Job’ Case,
Ordered to Testify, NEWSWEEK (Oct. 12, 2022); Larry Neumeister & Jill Colvin (The Associated
Press), Trump Angrily Lashes Out After His Deposition Is Ordered, SEATTLE TIMES (Oct. 12,
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Judge Says Trump Must Give Deposition in Defamation Lawsuit, Setting Off Tirade by Former
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Ewan Palmer, Has Trump Just Had the Worst Week of His Political Life? NEWSWEEK (Oct. 14,
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None of Them Good: Legal Expert, RAW STORY (Oct. 16, 2022); Jennifer Wood, Trump Is
Scheduled To Be Deposed this Week for a Defamation Suit and a Former U.S. Attorney Thinks He
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in E. Jean Carroll’s Defamation Lawsuit. Here’s What To Know About the Case. YAHOO! NEWS
(Oct. 17, 2022); Tom Boggioni, Trump’s Latest Rant About His Rape Defamation Case Could
‘Blow a Hole’ in His Defense: Report, RAW STORY (Oct. 18, 2022); Aldous J. Pennyfarthing,
Trump May Have Destroyed His Best Defense in the E. Jean Carroll Rape Defamation Case,
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Greg Walters, Trump Just Blew Up His Rape Lawsuit Defense, VICE NEWS (Oct. 18, 2022); David
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        21
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       96.    In the October 12 statement, Trump falsely stated that he did not rape Carroll.

       97.    In the October 12 statement, Trump falsely stated that he had no idea who Carroll

was.

       98.    In the October 12 statement, Trump falsely implied and affirmatively intended to

imply that Carroll had invented the rape accusation as a “hoax,” “scam,” or ploy to increase her

book sales.




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       99.     In the October 12 statement, Trump also insulted Carroll’s physical appearance,

implying that she was too ugly for him to have sexually assaulted.

       100.    This insulting statement was consistent with other statements that Trump had made

in response to other accusations of sexual assault by other women. About one woman who claimed

he groped her and tried to put his hand up her skirt while they were seated next to each other on

an airplane, Trump told crowds at a rally, “Believe me, she would not be my first choice, that I

can tell you.” 22 He reportedly called that same woman “the cunt on the airplane” when he ran into

her at a charity gala years after the assault. 23 About a second woman, who claimed he forcibly

pinned her to a wall and kissed her without consent while she was interviewing him for a magazine,

Trump said to crowds at another rally, “Take a look, you take a look. Look at her, [then] look at

her words, you tell me what you think. I don’t think so.” 24 Indeed, Trump often responds to claims

that he has behaved inappropriately by simultaneously attacking the individual’s credibility and

attractiveness. When a female journalist quoted him as saying in a 1992 interview that “you have

to treat women like shit,” Trump insisted later, “The woman’s a liar, extremely unattractive, lots

of problems because of her looks.” 25




       22
         Jose A. DelReal, Trump Mocks Sexual Assault Accusers: “She Would Not Be My First
Choice”, WASH. POST (Oct. 14, 2016).
       23
        BARRY LEVINE & MONIQUE EL-FAIZY, ALL THE PRESIDENT’S WOMEN: DONALD TRUMP
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       24
        Naomi Lim, Donald Trump on Accuser: “Take a Look at Her . . . I Don’t Think So”,
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       25
        Nancy Collins, Donald Trump Talks Family, Women in Unearthed Transcripts: “When
I Come Home and Dinner’s Not Ready, I Go Through the Roof”, HOLLYWOOD REP. (Oct. 13,
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VI.    TRUMP’S FALSE STATEMENT WAS MADE WITH KNOWLEDGE OF
       FALSITY OR RECKLESS DISREGARD FOR THE TRUTH

       101.    The false statement that Trump made about Carroll on October 12, 2022, was

published with knowledge of its falsity and/or with reckless disregard for the truth.

       102.    Trump knew who Carroll was at the time he raped her. And Trump also knew who

Carroll was when he made his October 12 statement.

       103.    Trump identified Carroll on sight when they met at Bergdorf Goodman.

       104.    In that period, Trump moved in the same highly publicized New York City media

circles as Carroll, who also appeared on her own popular daily television program.

       105.    In October 2022, Trump knew it was false to state that he had no idea who Carroll

was.

       106.    In October 2022, Trump knew it was false to state that he had never raped Carroll.

       107.    In October 2022, Trump’s defamatory claim that Carroll had “completely made up

a story” and thus fabricated the rape accusation to promote her book rested on the express or

deliberately-implied premise that Carroll’s underlying accusation was false. Because Trump knew

that the accusation was true, he also knew that his claim about Carroll’s motive was false.

       108.    Moreover, Trump lacked any factual basis for his statement implying that Carroll

had revealed to the public that he raped her at Bergdorf Goodman to promote “a really crummy

book.” And since his statement about Carroll was made to impute motives for lying, when in fact

he knew that Carroll had spoken the truth, Trump had strong reason to doubt the veracity of his

own insulting claims. Trump thus published his statement with reckless disregard for the truth.

       109.    Trump’s false, insulting, and defamatory October 12 statement about Carroll—and

his actual malice in making that statement—is fully consistent with his tried-and-true playbook for

responding to credible public reports that he sexually assaulted women.


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       110.     In 2005, Trump admitted—on a hot mic—to repeatedly sexually assaulting women

in almost exactly the same manner that he had raped Carroll:

       “I better use some Tic Tacs just in case I start kissing her [the woman Trump was
       looking at, whom he had never met before]. You know, I’m automatically attracted
       to beautiful—I just start kissing them. It’s like a magnet. Just kiss. I don’t even
       wait. And when you’re a star, they let you do it. You can do anything . . . . Grab
       ’em by the pussy. You can do anything. . . . Ooh, [she has] nice legs, huh?” 26

       111.     Based on Carroll’s own experiences, Trump’s 2005 statement was not “locker room

talk” or mere braggadocio. It was a true description of how Trump believes he can treat women—

and of how he has treated them on many occasions, including at Bergdorf Goodman.

       112.     Indeed, Trump has openly suggested that sexual assault is inevitable when men and

women interact. In 2013, for instance, he tweeted: “26,000 unreported sexual assults [sic] in the

military . . . . What did these geniuses expect when they put men & women together?” 27

       113.     In addition to Carroll, Trump has been accused publicly by over a dozen women of

forcibly kissing them, groping them above or below the waist, or attempting to rape them—often

upon meeting him for the very first time. Those women include Jill Harth, Jessica Leeds, Cathy

Heller, Temple Taggart McDowell, Karena Virginia, Bridget Sullivan, Tasha Dixon, Mindy

McGillivray, Rachel Crooks, Natasha Stoynoff, Summer Zervos, and Cassandra Searles. Trump

has responded to their accusations in a manner eerily similar to the statements he made about

Carroll in June 2019.

       114.     A book by Barry Levine and Monique El-Faizy documents 67 incidents of alleged

inappropriate behavior by Trump toward women, including 26 allegations of unwanted sexual

contact. Forty-three of the allegations of inappropriate behavior in the book had not been



       26
            Transcript: Donald Trump’s Taped Comments About Women, N.Y. TIMES (Oct. 8, 2016).
       27
            Daniella Diaz, Trump Defends Tweet on Military Sexual Assault, CNN (Sept. 8, 2016).


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 previously reported. 28 The book traces “Trump’s transformation from a kid from Queens to high

 school ‘ladies’ man’ into a womanizing, model-chasing, porn-star-frequenting philanderer,” who

 “repeatedly and systematically engaged in aggressive sexual pursuit of women over the course of

 many decades.” 29

        115.      Trump thus knew he was lying when he said that Carroll had fabricated her rape

 accusation for a hodgepodge of unsavory reasons that he himself had invented out of whole cloth.

 He knew she was telling the truth because he knew who she was and he knew that he had raped

 her, just as he had sexually assaulted many other women over many years.

VII.    CARROLL SUFFERS REPUTATIONAL AND OTHER HARM

        116.      Trump’s false and insulting claims about Carroll were defamation per se. They

 tended to (and did) damage Carroll in her trade, occupation, and/or business, and they were

 defamatory on their face without reference to any extrinsic information.

        117.      Carroll has suffered harm as a direct result of Trump’s false, defamatory statement.

        118.      Coming forward put Carroll in the crosshairs of one of the most powerful men on

 the planet. He has since created and used his own powerful social media platform to attack her

 integrity, demean her appearance, condemn her as a liar, and accuse her of fabricating a rape

 allegation to promote a book.

        119.      Trump’s October 12 statement has caused Carroll emotional pain and suffering at

 the hands of the man who raped her, as well as injury to her reputation, honor, and dignity.




        28
             See LEVINE & EL-FAIZY, supra n.23, at 2.
        29
             Id. at 2-3.


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        120.    Carroll has suffered professional harm as a direct result of Trump’s defamatory

statement. By attacking Carroll, Trump has injured the reputation on which she makes her

livelihood as a writer, advice columnist, and journalist.

                                     CAUSES OF ACTION

                                             COUNT I
                                              Battery

        121.    Carroll incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        122.    Trump committed battery against Carroll when he forcibly raped and groped her.

        123.    Trump intentionally, and without her consent, attacked Carroll to satisfy his own

sexual desires. Trump’s physical contact with Carroll was offensive and wrongful under all the

circumstances. Trump continued to attack and rape Carroll despite her attempts to fight against

him.

        124.    Trump’s conduct was the direct and proximate cause of Carroll’s past and future

substantial damages, including significant pain and suffering, lasting psychological and pecuniary

harms, loss of dignity, and invasion of privacy.

        125.    Trump’s actions constitute sexual offenses as defined in Article 130 of the New

York Penal Law, including but not limited to rape in the first degree (§ 130.35), rape in the third

degree (§ 130.25), sexual abuse in the first degree (§ 130.65), sexual abuse in the third degree

(§ 130.55), sexual misconduct (§ 130.20), and forcible touching (§ 130.52).

        126.    Plaintiff’s claim for battery is thus timely under the Adult Survivors Act, N.Y.

C.P.L.R. § 214-j.




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                                               COUNT II
                                               Defamation

        127.    Carroll incorporates by reference paragraphs 1 through 120 and re-alleges them as

if set forth fully herein.

        128.    Trump published his October 12, 2022 statement containing numerous defamatory

claims on Truth Social, to members of the media, and to his supporters.

        129.    His statement identified—and was “of or concerning”—Carroll.

        130.    His statement contained numerous falsehoods about Carroll, whether on its face

and/or by virtue of a clear implication affirmatively intended by Trump.

        131.    Trump’s false statement regarding Carroll was defamatory per se.

        132.    Trump’s false and defamatory statement was published throughout New York State

and around the world on television, in newspapers and magazines, on social media, and elsewhere

in print and on the internet. Trump ensured that his false and defamatory statement about Carroll

would receive a wide circulation by providing it to the national press.

        133.    Trump made his false and defamatory statement knowing that it was false or with

reckless disregard for its truth or falsity.

        134.    Trump made his false statement with ill will and spite, and with wanton, reckless,

or willful disregard for its injurious effects on Carroll and Carroll’s rights.

        135.    Trump’s false and defamatory statement caused Carroll to suffer reputational,

emotional, and professional harm.

                                       PRAYER FOR RELIEF

        WHEREFORE, Carroll respectfully requests that the Court:

                i.       Order Trump to retract his defamatory statement;




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              ii.     Award Carroll compensatory damages in an amount to be determined at

                      trial;

              iii.    Award Carroll punitive and exemplary damages in an amount to be

                      determined at trial; and

              iv.     Award Carroll pre- and post-judgment interest, costs, and such other and

                      further relief as this Court may deem just and proper.

                                        JURY DEMAND

       Plaintiff E. Jean Carroll hereby demands a trial by jury on all issues so triable pursuant to

Rule 38 of the Federal Rules of Civil Procedure.

Dated: New York, New York
       November 24, 2022

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